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                                                                                     EXHIBIT A
                                                                                   218 Commerce Street
                                                                                          P.O. Box 4160
                                                                             Montgomery, AL 36103-4160

                                                                                          (800) 898-2034

                                                                                        BeasleyAllen.com

                                                                              Archie l. Grubb, II
                                                                                              Principal
                                                                           archie.grubb@beasleyallen.com


ATLANTA | MONTGOMERY



                             ARCHIE I. GRUBB, II – RESUME
       I.       RELEVANT EXPERIENCE

                Beasley Allen Law Firm, October 2009 – present (partner since 2012)

                Multi-District Litigation

              *      In re: Apple Inc. Device Performance Litigation, MDL No. 2827 (N.D. Cal.,
       Judge Davila) (recently appointed to Plaintiffs’ Steering Committee, vetting class
       representatives for purposes of consolidated complaint, further duties to be determined);

               *      In re: Chrysler-Dodge-Jeep Ecodiesel Litigation, MDL No. 2777 (N.D. Cal.,
       Judge Chen) (assistance to Executive Committee in ongoing MDL with coordination of
       certain class representatives, preparation of class representative discovery responses,
       preparation and defense of class representative depositions, management of Beasley
       Allen document review team, research and briefing relevant to class certification);

              *      In re: Volkswagen “Clean Diesel” Litigation, MDL No. 2672 (N.D. Cal.,
       Judge Breyer) (assistance to Executive Committee in ongoing MDL, which has largely
       resolved, with coordination of certain class representatives, preparation of class
       representative discovery responses, document review, research and briefing, and
       implementation of class-wide settlement affecting over 500,000 consumers);

              *      In re: Domestic Airline Travel Antitrust Litigation, MDL No. 2656 (D.D.C.,
       Judge Kollar-Kotelly) (assistance to Executive Committee in this ongoing MDL, in which
       two of the four primary defendants have settled, with management of Beasley Allen
       document review team);

               *       In re: Blue Cross Blue Shield Antitrust Litigation, MDL No. 2406 (N.D.
       Ala. Judge Proctor) (assistance to Executive Committee in ongoing MDL with coordination
       of certain class representatives, preparation of class representative discovery responses,
       defense of class representative depositions, document review, research and briefing);

              *      In re: Takata Airbag Products Liability Litigation, MDL No. 2599 (S.D. Fla.
       Judge Moreno) (assistance to Executive Committee in ongoing MDL, which is largely
       resolved, with coordination of certain class representatives, preparation of class
       representative discovery responses, defense of class representative depositions, and
       document review);


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       *       In re: General Motors Ignition Switch Products Liability Litigation, MDL No.
2543 (S.D.N.Y. Judge Furman) (assistance to Executive Committee in ongoing MDL with
settlement pending, with coordination of certain class representatives, preparation of class
representative discovery responses, and defense of class representative depositions).

       Other Litigation

       *       Two court-approved class action settlements providing millions in relief
       to borrowers who paid for force-placed flood insurance. See Walls v. JPMorgan
       Chase Bank, 2016 WL 6078297 (W.D. Ky., Oct. 14, 2016), and Coates v. Midfirst
       Bank, 2:14-cv-1079-KOB (N.D. Ala., July 29, 2015);
       *       $3.3 million personal injury settlement;
       *       $1.2 million settlement of a business dispute alleging breach of contract,
       breach of fiduciary duty, and fraud;
       *       $575,000 settlement of an insurance coverage dispute;
       *       $400,000 settlement of breach of contract claim between two businesses;
       *       $300,000 settlement on behalf of a consumer in a case alleging fraud,
       breach of contract and other claims;
       *       $225,000 settlement for a supplier alleging breach of contract against its
       buyer;
       *       $200,000 settlement of business claims involving breach of contract and
       breach of confidentiality;
       *       $162,500 settlement for a manufacturer alleging breach of contract
       and bad faith against its insurance carrier;
       *       $150,000 settlement for a merchant alleging breach of contract and bad
       faith against its insurance carrier;
       *       $150,000 claim for a consumer injured by a dangerous product;
       *       Multiple five and six figure settlements of employment-related claims.

II.    OTHER EXPERIENCE

       *       Carlock, Copeland & Stair (Atlanta, GA) 2006- 2008 – defense litigation
       *       Grubb Law Firm (Eufaula, AL) 2003-2006 – general practice

III.   BAR ADMISSIONS

       *       Alabama (2003) – all State and Federal courts
       *       Georgia (2004) – all State and Federal courts
       *       Eleventh Circuit Court of Appeals (2013)
       *       United States District Court for the Western District of Tennessee (2010)
       *       United States District Court for the District of Colorado (2013)

IV.    EDUCATION
       *       University of Alabama School of Law (2003)
       *       University of Alabama Honors Program (1995)

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